              Case 07-10416-BLS           Doc 5124-3        Filed 02/29/08       Page 1 of 2




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re

NEW CENTURY TRS HOLDINGS, INC., et                   Chapter 11
al.,                                                 Case No. 07-10416-KJC

                         Debtor.


                                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on February 29, 2008, copies of the foregoing Motion for Relief

from Automatic Stay Under § 362 of the Bankruptcy Code, notice, and proposed order were served

via first-class mail, postage prepaid, upon the parties listed on the attached matrix.




Dated: February 29, 2008                            /s/ Maria Aprile Sawczuk
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            Case 07-10416-BLS    Doc 5124-3   Filed 02/29/08    Page 2 of 2




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